          Case 1:23-cr-00290-ACR Document 20 Filed 01/30/24 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :       Case No. 23-CR-290 (ACR)
                                               :
CHAD DUSTIN SUENRAM,                           :
                                               :
                        Defendant.             :


   JOINT STATUS REPORT ON DEFENDANT’S INTENTIONS TO PLEAD GUILTY

        The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, and Michael Studtmann, counsel for Defendant Chad Dustin Suenram

(Suenram), respectfully submit this Joint Status Report to update the Court on Suenram’s

intentions to plead guilty to a violation of 18 U.S.C. § 1752(a)(2), Disorderly and Disruptive

Conduct in a Restricted Building or Grounds.

                                   PROCEDURAL POSTURE

        On January 29, 2024, the Court ordered the parties to confer on whether Suenram intends

to plead guilty to a violation of 18 U.S.C. § 1752(a)(2). The Court furthered ordered that the

parties file a Joint Status Report detailing those discussions by 5:00 p.m. on January 30, 2024.

                                        STATUS UPDATE

        On January 30, 2024, counsel for Suenram informed government counsel that his client

was unlikely to plead guilty to a violation of 18 U.S.C. § 1752(a)(2) or any other misdemeanor

violation. Both parties agreed to ask the Court to set a date for trial.

                                               CONCLUSION

        Suenram has rejected the government’s plea offer in this case, and the parties ask that this

Court set a date for trial.



                                                   1
Case 1:23-cr-00290-ACR Document 20 Filed 01/30/24 Page 2 of 2




                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           United States Attorney
                           D.C. Bar No. 481052

                     By:
                           __/s/______________           _
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                           For Chad Suenram:


                           __/s/_______________
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                              2
